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                                 UNITED STATES DISTRICT COURT
                                                                                                          9/f
                                 EASTERN DISTRICT OF NEW YORK


      VALUE WHOLESALE,INC.,
                                                            16-CV=mm(NGG)(RER)
                             Plaintiff,                     ECFCASE

                       Vw                                       STIPULATION OF DISMISSAL
                                                                WITHOUT PREJUDICE
                                                                PURSUANT TO FRCP
     KB INSURANCE CO.,LTD.,                                     41(a)(l)(A)(iO

                             Defendant




           IT IS HEREBY STIPULATED AND AGREED,by and between the undersigned,the

    attorneys ofrecord for all parties in the above entitled action, that whereas no party hereto is an

    infant or incompetent person for whom a committee has been appointed and no person not a

    party has an interest in the subject matter of this action, the above entitled action be, and the

    same hereby is pursuant to Fed. R. Civ. Proc. 41(a)(l)(A)(ii) dismissed, WITHOUT

    PREJUDICE,and without cost or fees to either party as against the other. This stipulation may

    be filed without further notice with the Clerk ofthe Court.




    Dated: November 3,2016


     PLAINTIFF VALUE WHOLESALE,INC.                     DEFENDANT KB INSURANCE CO., LTD.


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     Richard S^. Schurin, Esq.                         Linda Fridegotto, Esq^
    STERN & SCHUION LLP                                HAVKINS,ROSENFELD,RITZERT &
    Attorneysfor Plaintiff                             VARRIALELLP
                                                       Attorneysfor Defendant


          s/Nicholas G. Garaufis
